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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

    LUIS MANUEL RODRIGUEZ, et al.,

                                   Plaintiffs,

                     v.                          Case No.: 1:20-cv-23287(DPG)(AMO)

    IMPERIAL BRANDS PLC, et al.,

                               Defendants.




            PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
           DEFENDANT CORPORACIÓN HABANOS, S.A.’S MOTION TO
         DEEM CERTAIN FACTS AS ESTABLISHED FOR PURPOSES OF THE
     EVIDENTIARY HEARING, FOR RELIEF IN LIMINE, AND FOR OTHER RELIEF
              AND MEMORANDUM OF LAW IN SUPPORT THEREOF
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           Plaintiffs, by and through their undersigned attorneys, respectfully submit this

   Memorandum of Law in opposition to Defendant Corporación Habanos, S.A.’s (“Defendant’s” or

   “Habanos’”) Motion to Deem Certain Facts as Established for Purposes of the Evidentiary

   Hearing, for Relief in Limine and for Other Relief and Memorandum of Law in Support Thereof

   (“Def. Motion”), and state:

                                    PRELIMINARY STATEMENT

           While Plaintiffs are currently in the midst of Jurisdictional Discovery, Defendant has seized

   on the opportunity to distract Plaintiffs’ counsel by filing the instant motion. Defendant’s Motion

   attempts to (i) reargue Habanos’ motion to dismiss, (ii) untimely challenge the Court’s September

   27, 2021 order (as amended) [ECF No. 134] ordering, inter alia, an evidentiary hearing on

   Habanos' Motion to Dismiss [ECF No. 89] and the filing of a witness list and an exhibit list prior

   to the evidentiary hearing. As set forth in greater detail herein, Habanos’ motion should be denied

   in its entirety.

                                         LEGAL ARGUMENT


   I.      DEFENDANT’S MOTION SEEKS TO REARGUE ITS MOTION TO DISMISS

           Defendant’s motion, although presented under the guise of a motion to establish facts and

   for other relief in limine, actually reargues Habanos’ Motion to Dismiss, [ECF No. 89]. For

   example, see the top of page 3 of Defendant’s motion, starting with “Habanos, S.A. argues that

   the Amended Complaint is facially insufficient . . . ” through the end of page 7 , and page 13 to

   14, which language restates and reargues Defendants’ Motion to Dismiss. Def. Motion. The Local

   Rules are clear that a movant may file a memorandum of law, and a reply memorandum of law:

   “[n]o further or additional memoranda of law shall be filed and served without prior leave of

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   Court.” See Local Rule 7.1(c). Defendant’s Motion is a thinly veiled attempt to get a (second)

   last word in violation of Local Rule 7.1(c). The Motion should be denied.


   II.    DEFENDANT CONFLATES JURISDICTIONAL                             FACTS       WITH      FACTS
          REGARDING THE MERITS OF THE ACTION

          Defendant seeks to have the various declarations attached to its motion to dismiss [ECF

   Nos. 89-1 to 89-6] and the declaration attached to its reply in support of said motion [ECF No.

   117-1] deemed as “established facts” without corroboration by the declarants. (See Def. Motion.

   At 1). Defendant contends that the declarations constitute “uncontroverted facts” that “must be

   taken as established at the Evidentiary Hearing.” See Def. Motion 5-6. Defendant’s position is

   fatally flawed on two grounds, (i) Defendant conflates jurisdictional facts with facts regarding the

   merits of the action and (ii) Defendant makes conclusory statements, which the Court need not

   accept in an affidavit.

          A.      NON-JURISDICTIONAL AFFIDAVITS SHOULD NOT BE CONSIDERED BY
                  THE COURT AT THIS TIME

          A defendant may challenge jurisdiction by submitting an affidavit challenging

   jurisdictional allegations, in which case the plaintiff can rebut the affidavit by an affidavit

   supporting jurisdiction. Posner v. Essex Ins. Co., 178 F.3d 1209, 1214 (11th Cir. 1999). However,

   the defendant cannot submit affidavits regarding the underlying merits of the action for the Court’s

   consideration. Habanos acknowledges that its declarations are filled primarily with assertions

   regarding the supposed condition and usage of the “RRHSC Property” that is the subject of

   Plaintiffs’ Amended Complaint. See Def. Motion 4-5. The question of how and to what extent the

   RRHSC Property was in use during the two years prior to the filing of the complaint is not a

   “jurisdictional fact.” Instead, that issue goes to arguments made by all Defendants jointly regarding
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   the Helms-Burton Act’s “statute of limitations.” See 22 U.S.C.A. § 6084 (“Limitation of

   actions”). 1 Assertions regarding the use of the Property, therefore, are relevant only to all

   Defendants’ joint motion to dismiss under Rule 12(b)(6).

          Because the subject of most of Habanos’ declarations is not related to “jurisdictional facts,”

   the premise of Defendant’s Motion is wrong. And, of course, matters outside of the complaint are

   not properly considered on a motion under Fed. R. Civ. P. 12(b)(6). Moreover, facts that could go

   either to jurisdiction or to the merits should not be deemed established against the plaintiff. To the

   contrary, courts faced with the issue hold that:

               [W]hen the factual attack also implicates an element of the underlying
               cause of action. In such a case, ‘[t]he proper course of action for the
               district court ... is to find that jurisdiction exists and deal with the
               objection as a direct attack on the merits of the plaintiff’s case. The
               defendant is then ‘forced to proceed under Rule 12(b)(6) ... or Rule 56 ...
               both of which place great restrictions on the district court’s discretion.’

   Cardoza v. Mario's Cleaning Services, Corp., 15-CV-61059, 2015 WL 13709640, at *1 (S.D. Fla.

   July 22, 2015) (emphasis added, citations omitted). Both the factual and the legal premises for

   Defendant’s Motion are wrong. For that further reason, the Court should deny the Motion.

          If the Court were to entertain the Defendant’s declarations regarding the underlying facts

   in the action, specifically the use of the RRHSC Property including the cigar factory, such




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           See also Havana Docks Corp. v. Carnival Corp., 19-CV-21724, 2020 WL 5517590, at *11
   (S.D. Fla. Sept. 14, 2020) (“because Plaintiff has stated an actionable claim under Title III on the
   face of the Amended Complaint, the Court need not determine whether § 6084 is a statute of repose
   or a statute of limitations.”).


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   consideration would convert the Defendant’s motion to dismiss to one for summary judgment See

   Fed. R. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) . . . . matters outside the pleadings are

   presented to and not excluded by the court, the motion must be treated as one for summary

   judgment under Rule 56”). The Eleventh Circuit has held that “summary judgment may only be

   decided upon an adequate record.” See Cardoza, 2015 WL 13709640, at *1; WSBTV v. Lee, 842

   F.2d 1266, 1269 (11th Cir. 1988); Reflectone, Inc. v. Farrand Optical Co., 862 F.2d 841, 843 (11th

   Cir. 1989) (“summary judgment should not be granted until the party opposing the motion has had

   an adequate opportunity to conduct discovery.”). In the instant case, there has been no discovery

   on merits issues, and Plaintiffs have had no opportunity for discovery except for the limited

   jurisdictional discovery recently authorized by the Court. There is plainly not an adequate record

   for summary judgment. Therefore, the pending motions to dismiss cannot be converted to

   summary judgment motions.

          Habanos may have somehow construed the Court’s order for an evidentiary hearing as a

   conversion to a motion for summary judgment and an evidentiary hearing on all issues (See Def.

   Motion at 6). However, there can be no question that the upcoming evidentiary hearing is limited

   to jurisdictional matters, and that the underlying motions have not been converted to motions for

   summary judgment. It is well accepted in the 11th Circuit that if a judge wishes to convert a

   motion to dismiss into one for summary judgment (by considering matters outside the pleadings),

   the court must give a ten-day notice to all parties notifying them of the conversion. Prop. Mgmt.

   & Invs., Inc. v. Lewis, 752 F.2d 599, 605 (11th Cir. 1985); accord White v. Berger, 769 F. App'x

   784, 788 (11th Cir. 2019). No such notice has been given. More importantly, again, there can be

   no dispute that this case lacks an appropriate record for a 12(b)(6) motion to be converted to


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   summary judgment. See Reflectone, 862 F.2d at 843; WSBTV, 842 F.2d at 1269. Thus, the

   underlying motions to dismiss must remain motions to dismiss, and the evidentiary hearings are

   limited to jurisdictional facts.

           As Habanos’ motion must remain a motion to dismiss, apart from jurisdictional affidavits,

   and more specifically, those portions of such affidavits dealing with and asserting jurisdictional

   facts, the Court should not consider matters outside the pleadings. See Harper v. Lawrence Cty.,

   Ala., 592 F.3d 1227, 1232 (11th Cir. 2010) (“A judge need not convert a motion to dismiss into a

   motion for summary judgment as long as he or she does not consider matters outside the

   pleadings.”).

           As admitted by the Defendant, the Declaration of Mirel García Días [ECF 89-3], the

   Declaration of Rafael Agramonte Hevia and the attachment thereto [ECF 89-4], the Declaration of

   Martha Riquelme Armenteros [ECF 89-5], the Declaration of Jorge Fernández Núñez [ECF 89-

   6] 2, and the Declaration of Juan Luis Arias [ECF 117-1] all discuss the use (or disuse) of the

   Partagas cigarette factory building and a modern mixed-use building adjacent and connected to

   said factory at the corner of Calle 23 y 16 (23rd Street and 16th) in Havana, Cuba (collectively the

   “Property”). (Def. Motion at 4-6). These declarations are devoid of jurisdictional facts, but attempt

   to address the allegations underlying the Complaint.




   2      Mr. Fernández Núñez, however, does admit that the Cuban state monopoly for tobacco
   leaf, Empresa Comercializadora de Tabaco en Rama “La Vega” (a/k/a Tabacuba) uses the
   Property. [ECF 89-6] La Vega “purchases raw tobacco from Cuban farmers and entities located
   in Cuba and sells this raw tobacco to other Cuban entities in Cuba” [ECF 89-6], which would
   include Habanos.
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          The Declaration of Susan Bailey, a staff member of Rabinowitz, Boudin, Standard, Krinsky

   & Lieberman, P.C., counsel for Habanos, discusses the Twitter, YouTube and Instagram pages for

   Habanos in its first five paragraphs, however, the remainder and majority of Ms. Bailey’s

   declaration discusses the exhibits attached to Plaintiffs’ Complaint and does not contain

   jurisdictional facts. 3 [ECF No. 89-1]. Similarly, the Declaration of Karel Perez Alejo discusses

   the pictures shown in the exhibits attached to Plaintiffs’ complaints and does not contain

   jurisdictional facts. [ECF No. 89-2]. The Declaration of Professor Ivonne Pérez Gutiérrez [ECF

   No. 89-7] discusses Cuban law, not international law, nor the laws of the United States. The only

   jurisdictionally relevant statement in the Declaration is that there are no international conventions

   and/or treaties between the United States and Cuba regarding service of legal papers. [ECF No.

   89-7 at 9].

          As demonstrated above, these declarations devoid of jurisdictional facts, should not be

   “admitted as facts”, but instead, should not be considered by the Court at all.




   3      Ms. Bailey’s Declaration reflects “snapshots” of Habanos’ Twitter, YouTube and
   Instagram pages, and can only attest to the contents of such pages on the day she visited such
   webpages. Any inference that the “snapshot” of Habanos’ page reflects the totality of such page
   throughout its existence would be conclusory at best, does not require a response, and should not
   be considered by the court. Posner v. Essex Ins. Co., 178 F.3d 1209, 1215 (11th Cir.1999).

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   III.   PLAINTIFFS  SHOULD    NOT    BE   BARRED   FROM    OFFERING
          JURISDICTIONAL EVIDENCE AT THE EVIDENTIARY HEARING.

          As set forth above, most of Defendants’ declarations do not concern jurisdictional facts,

   but instead delve into the underlying allegations. These non-jurisdictional declarations should not

   be considered by the Court lest Habanos’ motions to dismiss be improperly converted into a motion

   for summary judgment. Supra. However, the Court has found sufficient cause for an evidentiary

   hearing and ordered the same. Habanos’ time to challenge the Court’s order by a motion for

   rehearing, has since expired. Defendants’ request to preclude Plaintiffs from offering evidence at

   an evidentiary hearing is utterly without merit.

          The non-moving party to a motion to dismiss can respond by affidavit or otherwise, to

   demonstrate jurisdiction. Coca-Cola Foods v. Empresa Comercial Internacional De Frutas S.A.,

   941 F. Supp. 1175, 1178 (M.D. Fla. 1996), citing Weller v. Cromwell Oil Co., 504 F.2d 927, 929

   (6th Cir.1974). That the Plaintiffs did not respond to Habanos’ motion with a sworn statement is

   of no moment as Plaintiffs’ response in opposition clearly refutes Habanos’ motion.

          In any event, because the Court has ordered an evidentiary hearing, Plaintiffs are entitled

   to submit evidence at the evidentiary hearing. For this further reason, Defendants’ motion to

   preclude Plaintiffs from offering additional evidence, if necessary, at the evidentiary hearing must

   be denied.


   IV.    SHOULD DEFENDANT WISH TO OFFER TESTIMONY AT THE HEARING,
          THE WITNESSES TESTIFYING SHOULD BE AVAILABLE AT THE HEARING

          Defendant also seeks to have testimony admitted at the hearing, without having the

   witnesses available. See Def. Motion at 10. As set forth above, Defendant’s prior declarations

   either present facts that are inadmissible at this time as they are not relevant to jurisdiction or are

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   conclusory and should not be considered by the Court (and thus did not warrant an opposing

   declaration by the Plaintiffs). If the Defendant, however, seeks to offer further testimony, the

   witnesses should appear in person. Although six of the declarants are in Cuba and experience

   difficulties when using at least one video conference platform (Def. Motion at 11), those declarants

   discuss the use of the Property, testimony that should not be considered in the instant motions. As

   to the non-Cuban declarants, there is no reason why such declarants cannot be made available at

   the hearing for examination. An evidentiary hearing has been ordered, and thus Defendant’s

   reliance on its own declarations is misplaced.


   V.     DEFENDANT UNREASONABLY SEEKS TO HAVE PLAINTIFFS PRODUCE A
          LIST OF ALL DOCUMENTARY EVIDENCE IT MAY USE AT THE
          EVIDENTIARY HEARING

          Defendant also seeks to compel Plaintiffs to provide it with a list of all documentary

   evidence Plaintiffs intend to offer at the Evidentiary Hearing, together with a list of any witnesses

   Plaintiffs intend to call at the Evidentiary Hearing, within two days of entry of an order on this

   Motion. The request is unreasonable and nothing more than another challenge to this Court’s

   Order. The Court has already ordered that “A witness and exhibit list shall be filed prior to the

   evidentiary hearing.” [ECF No. 134]. Plaintiffs will comply with the existing order, and produce

   a witness and exhibit list prior to the evidentiary hearing. At present, however, Plaintiffs are

   engaged in jurisdictional discovery, and their attentions are focused on such discovery. It is

   unreasonable for the Defendant to request a witness and exhibit list so far in advance of the

   evidentiary hearing.




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   VI.       DEFENDANT’S ATTEMPTS               TO      BIFURCATE        THE     HEARING        ARE
             UNWARRANTED

             Although an evidentiary hearing has been ordered by the Court, and such evidentiary

   hearing will simultaneously apply to all four pending motions to dismiss, Habanos now seeks to

   bifurcate the hearing, by having Habanos’ motion to dismiss for lack of personal jurisdiction heard

   first, and then continuing the evidentiary hearing to a later time. Def. Motion at 12. Habanos

   should have raised this issue at the initial conference with the Court on September 27, 2021.

   Habanos has since consented to the present schedule as it stands. Moreover, if the evidentiary

   hearing were to be postponed, pending a decision on Habanos’ motion to dismiss for lack of

   personal jurisdiction, then Habanos’ Rule 7.1 Certification is defective as Habanos has failed to

   confer with the other defendants regarding Habanos’ request to bifurcate the hearing and possibly

   continue the evidentiary hearing to a later date. For this further reason, the Motion should be

   denied.




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                                            CONCLUSION

          For the foregoing reasons and based on the cited authorities, the Court should deny

   Habanos’ Motion to Deem Certain Facts as Established for Purposes of the Evidentiary Hearing,

   for Relief in Limine and for Other Relief.


                                                       Respectfully submitted,


    RODRIGUEZ TRAMONT & NUÑEZ P.A.                     BERENTHAL & ASSOCIATES, P.C.

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                                         Certificate of Service

            I HEREBY CERTIFY that on November 15, 2021, a true and correct copy of the foregoing
   was filed with the Clerk of Court using the CM/ECF system which will send a notification of the
   filing to all counsel and parties of record.

                                                           /s/ David W. Berenthal
                                                           David W. Berenthal




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